Case 8:20-cv-02125-DOC-KES Document 57 Filed 11/10/21 Page 1of2 Page ID #:608

Oo mA ND Nn Sf WW NY KF

—
— =O

ROBERT FLEMING, an individual and R
AND C OILFIELD SERVICES, LLC, an
Oklahoma limited liability company,

—
Ww wv

Plaintiff,

—
-

VS.

—
Nn

WIND ENERGY TRANSPORT, LLC, a
California limited liability company, and
DOES | through 50, inclusive,

—
oOo wa WN

Defendant.

 

 

ye NY NY VY NY VY NY NY NY
Om ryY Dn Wn FW NY KF CO ”O

 

 

1

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. 8:20-CV-2125-DOC-KESx

ORDER GRANTING JOINT
STIPULATION RE AWARD OF
ATTORNEY’S FEES AND COSTS

Complaint Filed: November 5, 2020
Trial Date: None Set

 

ORDER GRANTING JOINT STIPULATION RE AWARD OF ATTORNEY’S FEES AND COSTS

 
Case 8:20-cv-02125-DOC-KES Document 57 Filed 11/10/21 Page 2of2 Page ID #:609

Oo mA ND Nn Sf WW NY KF

NO NO NO HNO ND HN HNO NHN HN we KF KF KF KF KF FF —|—  —_—_
on Dn nH BPW NYO KF CO UO WBN WD nA fF WY NY KF CO

 

 

The Court has reviewed the Joint Stipulation filed by Plaintiffs Robert Fleming
and R and C Oilfield Services, LLC (“Plaintiffs”) and Defendant Wind Energy
Transport, LLC (“Defendant”).

IT IS HEREBY ORDERED THAT:

1. Defendant shall make, and Plaintiffs shall accept, a single payment
(“Payment”) for the settlement amount agreed upon by the Parties via a wire transfer or
cashier’s check in full settlement of the attorney’s fees and costs due to Plaintiffs in the
above-captioned action.

2. Defendant shall make the Payment within three (3) business days from the
date this Order is entered and filed (“the Payment deadline”). Plaintiffs, through their
counsel, shall file a notice with the Court within three (3) business days of the Payment
deadline confirming their receipt of the Payment.

3. | Upon the entry of this order, Plaintiffs shall be deemed to have withdrawn
their Motion for Attorney’s Fees Pursuant to ERCP 54 (“Motion”) [Dkt 48].
Accordingly, the hearing on the Motion set for November 15, 2021 is taken off
calendar.

= This Court retains jurisdiction to enforce the terms of this stipulation until
the Payment has been made.

5. In the event that Defendant fails to make the timely Payment to Plaintiffs,
then Plaintiffs may refile a motion for attorney’s fees seeking relief from the
Court. Plaintiffs shall file a notice with the Court requesting that the Court enter a
scheduling order to set the hearing on the motion and the related briefing schedule.

IT IS SO ORDERED.

mated: November 10, 2021 NMywit 0 Cutter

HONORABLE DAVID O. CARTER

 

 

2

 

ORDER GRANTING JOINT STIPULATION RE AWARD OF ATTORNEY’S FEES AND COSTS

 
